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KOCH MINERALS SÁRL (“KOMSA”) and KOCH NITROGEN INTERNATIONAL SÁRL (“KNI”) and THE
BOLIVARIAN REPUBLIC OF VENEZUELA (ICSID CASE No. ARB/11/19)
Schedule of Amounts Payable with Post-Award Interest Accrued through May 16, 2019


                                                              KOMSA and KNI jointly
                                                                         Arbitration
                           KOMSA                             Legal costs
            Date                          KNI seperately                     costs        Total award
                          seperately                          awarded
                                                                          awarded

         10/30/2017     168,669,011.14    200,478,603.62     17,436,085.10   628,836.44   387,212,536.30
         10/31/2017     168,685,567.86    200,498,282.79     17,437,796.64   628,898.16   387,250,545.45
         11/1/2017      168,702,124.58    200,517,961.97     17,439,508.19   628,959.89   387,288,554.63
         11/2/2017      168,718,681.29    200,537,641.15     17,441,219.73   629,021.62   387,326,563.79
         11/3/2017      168,735,238.01    200,557,320.33     17,442,931.27   629,083.34   387,364,572.95
         11/4/2017      168,751,794.73    200,576,999.51     17,444,642.82   629,145.07   387,402,582.13
         11/5/2017      168,768,351.44    200,596,678.68     17,446,354.36   629,206.80   387,440,591.28
         11/6/2017      168,784,908.16    200,616,357.86     17,448,065.90   629,268.53   387,478,600.45
         11/7/2017      168,801,464.88    200,636,037.04     17,449,777.45   629,330.25   387,516,609.62
         11/8/2017      168,818,021.59    200,655,716.22     17,451,488.99   629,391.98   387,554,618.78
         11/9/2017      168,834,578.31    200,675,395.40     17,453,200.53   629,453.71   387,592,627.95
         11/10/2017     168,851,135.03    200,695,074.57     17,454,912.08   629,515.43   387,630,637.11
         11/11/2017     168,867,691.74    200,714,753.75     17,456,623.62   629,577.16   387,668,646.27
         11/12/2017     168,884,248.46    200,734,432.93     17,458,335.16   629,638.89   387,706,655.44
         11/13/2017     168,900,805.18    200,754,112.11     17,460,046.71   629,700.62   387,744,664.62
         11/14/2017     168,917,361.90    200,773,791.29     17,461,758.25   629,762.34   387,782,673.78
         11/15/2017     168,933,918.61    200,793,470.46     17,463,469.79   629,824.07   387,820,682.93
         11/16/2017     168,950,475.33    200,813,149.64     17,465,181.34   629,885.80   387,858,692.11
         11/17/2017     168,967,032.05    200,832,828.82     17,466,892.88   629,947.52   387,896,701.27
         11/18/2017     168,983,588.76    200,852,508.00     17,468,604.42   630,009.25   387,934,710.43
         11/19/2017     169,000,145.48    200,872,187.18     17,470,315.97   630,070.98   387,972,719.61
         11/20/2017     169,016,702.20    200,891,866.35     17,472,027.51   630,132.71   388,010,728.77
         11/21/2017     169,033,258.91    200,911,545.53     17,473,739.05   630,194.43   388,048,737.92
         11/22/2017     169,049,815.63    200,931,224.71     17,475,450.60   630,256.16   388,086,747.10
         11/23/2017     169,066,372.35    200,950,903.89     17,477,162.14   630,317.89   388,124,756.27
         11/24/2017     169,082,929.07    200,970,583.07     17,478,873.68   630,379.62   388,162,765.44
         11/25/2017     169,099,485.78    200,990,262.24     17,480,585.23   630,441.34   388,200,774.59
         11/26/2017     169,116,042.50    201,009,941.42     17,482,296.77   630,503.07   388,238,783.76
         11/27/2017     169,132,599.22    201,029,620.60     17,484,008.31   630,564.80   388,276,792.93
         11/28/2017     169,149,155.93    201,049,299.78     17,485,719.86   630,626.52   388,314,802.09
         11/29/2017     169,165,712.65    201,068,978.96     17,487,431.40   630,688.25   388,352,811.26
         11/30/2017     169,182,269.37    201,088,658.13     17,489,142.94   630,749.98   388,390,820.42
         12/1/2017      169,198,826.08    201,108,337.31     17,490,854.49   630,811.71   388,428,829.59
         12/2/2017      169,215,382.80    201,128,016.49     17,492,566.03   630,873.43   388,466,838.75
         12/3/2017      169,231,939.52    201,147,695.67     17,494,277.57   630,935.16   388,504,847.92
         12/4/2017      169,248,496.23    201,167,374.85     17,495,989.12   630,996.89   388,542,857.09
         12/5/2017      169,265,052.95    201,187,054.03     17,497,700.66   631,058.61   388,580,866.25
         12/6/2017      169,281,609.67    201,206,733.20     17,499,412.20   631,120.34   388,618,875.41
         12/7/2017      169,298,166.39    201,226,412.38     17,501,123.75   631,182.07   388,656,884.59
         12/8/2017      169,314,723.10    201,246,091.56     17,502,835.29   631,243.80   388,694,893.75
         12/9/2017      169,331,279.82    201,265,770.74     17,504,546.83   631,305.52   388,732,902.91
         12/10/2017     169,347,836.54    201,285,449.92     17,506,258.38   631,367.25   388,770,912.09
         12/11/2017     169,364,393.25    201,305,129.09     17,507,969.92   631,428.98   388,808,921.24
         12/12/2017     169,380,949.97    201,324,808.27     17,509,681.46   631,490.70   388,846,930.40
         12/13/2017     169,397,506.69    201,344,487.45     17,511,393.01   631,552.43   388,884,939.58
         12/14/2017     169,414,063.40    201,364,166.63     17,513,104.55   631,614.16   388,922,948.74
         12/15/2017     169,430,620.12    201,383,845.81     17,514,816.09   631,675.89   388,960,957.91
         12/16/2017     169,447,176.84    201,403,524.98     17,516,527.64   631,737.61   388,998,967.07
         12/17/2017     169,463,733.55    201,423,204.16     17,518,239.18   631,799.34   389,036,976.23
         12/18/2017     169,480,290.27    201,442,883.34     17,519,950.72   631,861.07   389,074,985.40
         12/19/2017     169,496,846.99    201,462,562.52     17,521,662.27   631,922.80   389,112,994.58


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                                                 KOMSA and KNI jointly
                                                            Arbitration
               KOMSA                            Legal costs
  Date                        KNI seperately                    costs        Total award
              seperately                         awarded
                                                             awarded

12/20/2017   169,513,403.71   201,482,241.70    17,523,373.81   631,984.52   389,151,003.74
12/21/2017   169,529,960.42   201,501,920.87    17,525,085.35   632,046.25   389,189,012.89
12/22/2017   169,546,517.14   201,521,600.05    17,526,796.90   632,107.98   389,227,022.07
12/23/2017   169,563,073.86   201,541,279.23    17,528,508.44   632,169.70   389,265,031.23
12/24/2017   169,579,630.57   201,560,958.41    17,530,219.98   632,231.43   389,303,040.39
12/25/2017   169,596,187.29   201,580,637.59    17,531,931.53   632,293.16   389,341,049.57
12/26/2017   169,612,744.01   201,600,316.76    17,533,643.07   632,354.89   389,379,058.73
12/27/2017   169,629,300.72   201,619,995.94    17,535,354.61   632,416.61   389,417,067.88
12/28/2017   169,645,857.44   201,639,675.12    17,537,066.16   632,478.34   389,455,077.06
12/29/2017   169,662,414.16   201,659,354.30    17,538,777.70   632,540.07   389,493,086.23
12/30/2017   169,678,970.88   201,679,033.48    17,540,489.24   632,601.79   389,531,095.39
12/31/2017   169,695,527.59   201,698,712.65    17,542,200.79   632,663.52   389,569,104.55
 1/1/2018    169,712,084.31   201,718,391.83    17,543,912.33   632,725.25   389,607,113.72
 1/2/2018    169,728,641.03   201,738,071.01    17,545,623.87   632,786.98   389,645,122.89
 1/3/2018    169,745,197.74   201,757,750.19    17,547,335.42   632,848.70   389,683,132.05
 1/4/2018    169,761,754.46   201,777,429.37    17,549,046.96   632,910.43   389,721,141.22
 1/5/2018    169,778,311.18   201,797,108.54    17,550,758.50   632,972.16   389,759,150.38
 1/6/2018    169,794,867.89   201,816,787.72    17,552,470.05   633,033.89   389,797,159.55
 1/7/2018    169,811,424.61   201,836,466.90    17,554,181.59   633,095.61   389,835,168.71
 1/8/2018    169,827,981.33   201,856,146.08    17,555,893.14   633,157.34   389,873,177.89
 1/9/2018    169,844,538.04   201,875,825.26    17,557,604.68   633,219.07   389,911,187.05
1/10/2018    169,861,094.76   201,895,504.43    17,559,316.22   633,280.79   389,949,196.20
1/11/2018    169,877,651.48   201,915,183.61    17,561,027.77   633,342.52   389,987,205.38
1/12/2018    169,894,208.20   201,934,862.79    17,562,739.31   633,404.25   390,025,214.55
1/13/2018    169,910,764.91   201,954,541.97    17,564,450.85   633,465.98   390,063,223.71
1/14/2018    169,927,321.63   201,974,221.15    17,566,162.40   633,527.70   390,101,232.88
1/15/2018    169,943,878.35   201,993,900.32    17,567,873.94   633,589.43   390,139,242.04
1/16/2018    169,960,435.06   202,013,579.50    17,569,585.48   633,651.16   390,177,251.20
1/17/2018    169,976,991.78   202,033,258.68    17,571,297.03   633,712.88   390,215,260.37
1/18/2018    169,993,548.50   202,052,937.86    17,573,008.57   633,774.61   390,253,269.54
1/19/2018    170,010,105.21   202,072,617.04    17,574,720.11   633,836.34   390,291,278.70
1/20/2018    170,026,661.93   202,092,296.21    17,576,431.66   633,898.07   390,329,287.87
1/21/2018    170,043,218.65   202,111,975.39    17,578,143.20   633,959.79   390,367,297.03
1/22/2018    170,059,775.37   202,131,654.57    17,579,854.74   634,021.52   390,405,306.20
1/23/2018    170,076,332.08   202,151,333.75    17,581,566.29   634,083.25   390,443,315.37
1/24/2018    170,092,888.80   202,171,012.93    17,583,277.83   634,144.97   390,481,324.53
1/25/2018    170,109,445.52   202,190,692.10    17,584,989.37   634,206.70   390,519,333.69
1/26/2018    170,126,002.23   202,210,371.28    17,586,700.92   634,268.43   390,557,342.86
1/27/2018    170,142,558.95   202,230,050.46    17,588,412.46   634,330.16   390,595,352.03
1/28/2018    170,159,115.67   202,249,729.64    17,590,124.00   634,391.88   390,633,361.19
1/29/2018    170,175,672.38   202,269,408.82    17,591,835.55   634,453.61   390,671,370.36
1/30/2018    170,192,229.10   202,289,087.99    17,593,547.09   634,515.34   390,709,379.52
1/31/2018    170,208,785.82   202,308,767.17    17,595,258.63   634,577.07   390,747,388.69
 2/1/2018    170,225,342.53   202,328,446.35    17,596,970.18   634,638.79   390,785,397.85
 2/2/2018    170,241,899.25   202,348,125.53    17,598,681.72   634,700.52   390,823,407.02
 2/3/2018    170,258,455.97   202,367,804.71    17,600,393.26   634,762.25   390,861,416.19
 2/4/2018    170,275,012.69   202,387,483.88    17,602,104.81   634,823.97   390,899,425.35
 2/5/2018    170,291,569.40   202,407,163.06    17,603,816.35   634,885.70   390,937,434.51
 2/6/2018    170,308,126.12   202,426,842.24    17,605,527.89   634,947.43   390,975,443.68
 2/7/2018    170,324,682.84   202,446,521.42    17,607,239.44   635,009.16   391,013,452.86
 2/8/2018    170,341,239.55   202,466,200.60    17,608,950.98   635,070.88   391,051,462.01
 2/9/2018    170,357,796.27   202,485,879.77    17,610,662.52   635,132.61   391,089,471.17
2/10/2018    170,374,352.99   202,505,558.95    17,612,374.07   635,194.34   391,127,480.35
2/11/2018    170,390,909.70   202,525,238.13    17,614,085.61   635,256.06   391,165,489.50
2/12/2018    170,407,466.42   202,544,917.31    17,615,797.15   635,317.79   391,203,498.67
2/13/2018    170,424,023.14   202,564,596.49    17,617,508.70   635,379.52   391,241,507.85



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                                                KOMSA and KNI jointly
                                                           Arbitration
              KOMSA                            Legal costs
  Date                       KNI seperately                    costs        Total award
             seperately                         awarded
                                                            awarded

2/14/2018   170,440,579.85   202,584,275.66    17,619,220.24   635,441.25   391,279,517.00
2/15/2018   170,457,136.57   202,603,954.84    17,620,931.78   635,502.97   391,317,526.16
2/16/2018   170,473,693.29   202,623,634.02    17,622,643.33   635,564.70   391,355,535.34
2/17/2018   170,490,250.01   202,643,313.20    17,624,354.87   635,626.43   391,393,544.51
2/18/2018   170,506,806.72   202,662,992.38    17,626,066.41   635,688.15   391,431,553.66
2/19/2018   170,523,363.44   202,682,671.55    17,627,777.96   635,749.88   391,469,562.83
2/20/2018   170,539,920.16   202,702,350.73    17,629,489.50   635,811.61   391,507,572.00
2/21/2018   170,556,476.87   202,722,029.91    17,631,201.04   635,873.34   391,545,581.16
2/22/2018   170,573,033.59   202,741,709.09    17,632,912.59   635,935.06   391,583,590.33
2/23/2018   170,589,590.31   202,761,388.27    17,634,624.13   635,996.79   391,621,599.50
2/24/2018   170,606,147.02   202,781,067.44    17,636,335.67   636,058.52   391,659,608.65
2/25/2018   170,622,703.74   202,800,746.62    17,638,047.22   636,120.25   391,697,617.83
2/26/2018   170,639,260.46   202,820,425.80    17,639,758.76   636,181.97   391,735,626.99
2/27/2018   170,655,817.18   202,840,104.98    17,641,470.30   636,243.70   391,773,636.16
2/28/2018   170,672,373.89   202,859,784.16    17,643,181.85   636,305.43   391,811,645.33
 3/1/2018   170,688,930.61   202,879,463.33    17,644,893.39   636,367.15   391,849,654.48
 3/2/2018   170,705,487.33   202,899,142.51    17,646,604.93   636,428.88   391,887,663.65
 3/3/2018   170,722,044.04   202,918,821.69    17,648,316.48   636,490.61   391,925,672.82
 3/4/2018   170,738,600.76   202,938,500.87    17,650,028.02   636,552.34   391,963,681.99
 3/5/2018   170,755,157.48   202,958,180.05    17,651,739.56   636,614.06   392,001,691.15
 3/6/2018   170,771,714.19   202,977,859.22    17,653,451.11   636,675.79   392,039,700.31
 3/7/2018   170,788,270.91   202,997,538.40    17,655,162.65   636,737.52   392,077,709.48
 3/8/2018   170,804,827.63   203,017,217.58    17,656,874.19   636,799.24   392,115,718.64
 3/9/2018   170,821,384.34   203,036,896.76    17,658,585.74   636,860.97   392,153,727.81
3/10/2018   170,837,941.06   203,056,575.94    17,660,297.28   636,922.70   392,191,736.98
3/11/2018   170,854,497.78   203,076,255.11    17,662,008.82   636,984.43   392,229,746.14
3/12/2018   170,871,054.50   203,095,934.29    17,663,720.37   637,046.15   392,267,755.31
3/13/2018   170,887,611.21   203,115,613.47    17,665,431.91   637,107.88   392,305,764.47
3/14/2018   170,904,167.93   203,135,292.65    17,667,143.45   637,169.61   392,343,773.64
3/15/2018   170,920,724.65   203,154,971.83    17,668,855.00   637,231.34   392,381,782.82
3/16/2018   170,937,281.36   203,174,651.00    17,670,566.54   637,293.06   392,419,791.96
3/17/2018   170,953,838.08   203,194,330.18    17,672,278.08   637,354.79   392,457,801.13
3/18/2018   170,970,394.80   203,214,009.36    17,673,989.63   637,416.52   392,495,810.31
3/19/2018   170,986,951.51   203,233,688.54    17,675,701.17   637,478.24   392,533,819.46
3/20/2018   171,003,508.23   203,253,367.72    17,677,412.71   637,539.97   392,571,828.63
3/21/2018   171,020,064.95   203,273,046.89    17,679,124.26   637,601.70   392,609,837.80
3/22/2018   171,036,621.67   203,292,726.07    17,680,835.80   637,663.43   392,647,846.97
3/23/2018   171,053,178.38   203,312,405.25    17,682,547.34   637,725.15   392,685,856.12
3/24/2018   171,069,735.10   203,332,084.43    17,684,258.89   637,786.88   392,723,865.30
3/25/2018   171,086,291.82   203,351,763.61    17,685,970.43   637,848.61   392,761,874.47
3/26/2018   171,102,848.53   203,371,442.78    17,687,681.97   637,910.33   392,799,883.61
3/27/2018   171,119,405.25   203,391,121.96    17,689,393.52   637,972.06   392,837,892.79
3/28/2018   171,135,961.97   203,410,801.14    17,691,105.06   638,033.79   392,875,901.96
3/29/2018   171,152,518.68   203,430,480.32    17,692,816.60   638,095.52   392,913,911.12
3/30/2018   171,169,075.40   203,450,159.50    17,694,528.15   638,157.24   392,951,920.29
3/31/2018   171,185,632.12   203,469,838.67    17,696,239.69   638,218.97   392,989,929.45
 4/1/2018   171,202,188.83   203,489,517.85    17,697,951.23   638,280.70   393,027,938.61
 4/2/2018   171,218,745.55   203,509,197.03    17,699,662.78   638,342.42   393,065,947.78
 4/3/2018   171,235,302.27   203,528,876.21    17,701,374.32   638,404.15   393,103,956.95
 4/4/2018   171,251,858.99   203,548,555.39    17,703,085.86   638,465.88   393,141,966.12
 4/5/2018   171,268,415.70   203,568,234.56    17,704,797.41   638,527.61   393,179,975.28
 4/6/2018   171,284,972.42   203,587,913.74    17,706,508.95   638,589.33   393,217,984.44
 4/7/2018   171,301,529.14   203,607,592.92    17,708,220.49   638,651.06   393,255,993.61
 4/8/2018   171,318,085.85   203,627,272.10    17,709,932.04   638,712.79   393,294,002.78
 4/9/2018   171,334,642.57   203,646,951.28    17,711,643.58   638,774.52   393,332,011.95
4/10/2018   171,351,199.29   203,666,630.45    17,713,355.12   638,836.24   393,370,021.10



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                                                KOMSA and KNI jointly
                                                           Arbitration
              KOMSA                            Legal costs
  Date                       KNI seperately                    costs        Total award
             seperately                         awarded
                                                            awarded

4/11/2018   171,367,756.00   203,686,309.63    17,715,066.67   638,897.97   393,408,030.27
4/12/2018   171,384,312.72   203,705,988.81    17,716,778.21   638,959.70   393,446,039.44
4/13/2018   171,400,869.44   203,725,667.99    17,718,489.75   639,021.42   393,484,048.60
4/14/2018   171,417,426.15   203,745,347.17    17,720,201.30   639,083.15   393,522,057.77
4/15/2018   171,433,982.87   203,765,026.34    17,721,912.84   639,144.88   393,560,066.93
4/16/2018   171,450,539.59   203,784,705.52    17,723,624.38   639,206.61   393,598,076.10
4/17/2018   171,467,096.31   203,804,384.70    17,725,335.93   639,268.33   393,636,085.27
4/18/2018   171,483,653.02   203,824,063.88    17,727,047.47   639,330.06   393,674,094.43
4/19/2018   171,500,209.74   203,843,743.06    17,728,759.01   639,391.79   393,712,103.60
4/20/2018   171,516,766.46   203,863,422.23    17,730,470.56   639,453.51   393,750,112.76
4/21/2018   171,533,323.17   203,883,101.41    17,732,182.10   639,515.24   393,788,121.92
4/22/2018   171,549,879.89   203,902,780.59    17,733,893.64   639,576.97   393,826,131.09
4/23/2018   171,566,436.61   203,922,459.77    17,735,605.19   639,638.70   393,864,140.27
4/24/2018   171,582,993.32   203,942,138.95    17,737,316.73   639,700.42   393,902,149.42
4/25/2018   171,599,550.04   203,961,818.12    17,739,028.27   639,762.15   393,940,158.58
4/26/2018   171,616,106.76   203,981,497.30    17,740,739.82   639,823.88   393,978,167.76
4/27/2018   171,632,663.48   204,001,176.48    17,742,451.36   639,885.60   394,016,176.92
4/28/2018   171,649,220.19   204,020,855.66    17,744,162.90   639,947.33   394,054,186.08
4/29/2018   171,665,776.91   204,040,534.84    17,745,874.45   640,009.06   394,092,195.26
4/30/2018   171,682,333.63   204,060,214.01    17,747,585.99   640,070.79   394,130,204.42
 5/1/2018   171,703,497.23   204,085,368.90    17,749,773.77   640,149.69   394,178,789.59
 5/2/2018   171,724,660.83   204,110,523.78    17,751,961.55   640,228.59   394,227,374.75
 5/3/2018   171,745,824.43   204,135,678.66    17,754,149.32   640,307.49   394,275,959.90
 5/4/2018   171,766,988.03   204,160,833.54    17,756,337.10   640,386.40   394,324,545.07
 5/5/2018   171,788,151.63   204,185,988.42    17,758,524.88   640,465.30   394,373,130.23
 5/6/2018   171,809,315.23   204,211,143.30    17,760,712.66   640,544.20   394,421,715.39
 5/7/2018   171,830,478.83   204,236,298.19    17,762,900.44   640,623.11   394,470,300.57
 5/8/2018   171,851,642.43   204,261,453.07    17,765,088.21   640,702.01   394,518,885.72
 5/9/2018   171,872,806.03   204,286,607.95    17,767,275.99   640,780.91   394,567,470.88
5/10/2018   171,893,969.63   204,311,762.83    17,769,463.77   640,859.81   394,616,056.04
5/11/2018   171,915,133.23   204,336,917.71    17,771,651.55   640,938.72   394,664,641.21
5/12/2018   171,936,296.83   204,362,072.59    17,773,839.33   641,017.62   394,713,226.37
5/13/2018   171,957,460.43   204,387,227.48    17,776,027.10   641,096.52   394,761,811.53
5/14/2018   171,978,624.03   204,412,382.36    17,778,214.88   641,175.42   394,810,396.69
5/15/2018   171,999,787.63   204,437,537.24    17,780,402.66   641,254.33   394,858,981.86
5/16/2018   172,020,951.23   204,462,692.12    17,782,590.44   641,333.23   394,907,567.02
5/17/2018   172,042,114.83   204,487,847.00    17,784,778.22   641,412.13   394,956,152.18
5/18/2018   172,063,278.43   204,513,001.88    17,786,965.99   641,491.04   395,004,737.34
5/19/2018   172,084,442.03   204,538,156.77    17,789,153.77   641,569.94   395,053,322.51
5/20/2018   172,105,605.63   204,563,311.65    17,791,341.55   641,648.84   395,101,907.67
5/21/2018   172,126,769.23   204,588,466.53    17,793,529.33   641,727.74   395,150,492.83
5/22/2018   172,147,932.83   204,613,621.41    17,795,717.10   641,806.65   395,199,077.99
5/23/2018   172,169,096.43   204,638,776.29    17,797,904.88   641,885.55   395,247,663.15
5/24/2018   172,190,260.03   204,663,931.17    17,800,092.66   641,964.45   395,296,248.31
5/25/2018   172,211,423.63   204,689,086.06    17,802,280.44   642,043.35   395,344,833.48
5/26/2018   172,232,587.23   204,714,240.94    17,804,468.22   642,122.26   395,393,418.65
5/27/2018   172,253,750.83   204,739,395.82    17,806,655.99   642,201.16   395,442,003.80
5/28/2018   172,274,914.43   204,764,550.70    17,808,843.77   642,280.06   395,490,588.96
5/29/2018   172,296,078.03   204,789,705.58    17,811,031.55   642,358.97   395,539,174.13
5/30/2018   172,317,241.63   204,814,860.47    17,813,219.33   642,437.87   395,587,759.30
5/31/2018   172,338,405.23   204,840,015.35    17,815,407.11   642,516.77   395,636,344.46
 6/1/2018   172,359,568.83   204,865,170.23    17,817,594.88   642,595.67   395,684,929.61
 6/2/2018   172,380,732.43   204,890,325.11    17,819,782.66   642,674.58   395,733,514.78
 6/3/2018   172,401,896.03   204,915,479.99    17,821,970.44   642,753.48   395,782,099.94
 6/4/2018   172,423,059.63   204,940,634.87    17,824,158.22   642,832.38   395,830,685.10
 6/5/2018   172,444,223.23   204,965,789.76    17,826,346.00   642,911.28   395,879,270.27



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                                                KOMSA and KNI jointly
                                                           Arbitration
              KOMSA                            Legal costs
  Date                       KNI seperately                    costs        Total award
             seperately                         awarded
                                                            awarded

 6/6/2018   172,465,386.83   204,990,944.64    17,828,533.77   642,990.19   395,927,855.43
 6/7/2018   172,486,550.44   205,016,099.52    17,830,721.55   643,069.09   395,976,440.60
 6/8/2018   172,507,714.04   205,041,254.40    17,832,909.33   643,147.99   396,025,025.76
 6/9/2018   172,528,877.64   205,066,409.28    17,835,097.11   643,226.90   396,073,610.93
6/10/2018   172,550,041.24   205,091,564.16    17,837,284.88   643,305.80   396,122,196.08
6/11/2018   172,571,204.84   205,116,719.05    17,839,472.66   643,384.70   396,170,781.25
6/12/2018   172,592,368.44   205,141,873.93    17,841,660.44   643,463.60   396,219,366.41
6/13/2018   172,613,532.04   205,167,028.81    17,843,848.22   643,542.51   396,267,951.58
6/14/2018   172,634,695.64   205,192,183.69    17,846,036.00   643,621.41   396,316,536.74
6/15/2018   172,655,859.24   205,217,338.57    17,848,223.77   643,700.31   396,365,121.89
6/16/2018   172,677,022.84   205,242,493.45    17,850,411.55   643,779.21   396,413,707.05
6/17/2018   172,698,186.44   205,267,648.34    17,852,599.33   643,858.12   396,462,292.23
6/18/2018   172,719,350.04   205,292,803.22    17,854,787.11   643,937.02   396,510,877.39
6/19/2018   172,740,513.64   205,317,958.10    17,856,974.89   644,015.92   396,559,462.55
6/20/2018   172,761,677.24   205,343,112.98    17,859,162.66   644,094.83   396,608,047.71
6/21/2018   172,782,840.84   205,368,267.86    17,861,350.44   644,173.73   396,656,632.87
6/22/2018   172,804,004.44   205,393,422.74    17,863,538.22   644,252.63   396,705,218.03
6/23/2018   172,825,168.04   205,418,577.63    17,865,726.00   644,331.53   396,753,803.20
6/24/2018   172,846,331.64   205,443,732.51    17,867,913.78   644,410.44   396,802,388.37
6/25/2018   172,867,495.24   205,468,887.39    17,870,101.55   644,489.34   396,850,973.52
6/26/2018   172,888,658.84   205,494,042.27    17,872,289.33   644,568.24   396,899,558.68
6/27/2018   172,909,822.44   205,519,197.15    17,874,477.11   644,647.14   396,948,143.84
6/28/2018   172,930,986.04   205,544,352.03    17,876,664.89   644,726.05   396,996,729.01
6/29/2018   172,952,149.64   205,569,506.92    17,878,852.67   644,804.95   397,045,314.18
6/30/2018   172,973,313.24   205,594,661.80    17,881,040.44   644,883.85   397,093,899.33
 7/1/2018   172,994,476.84   205,619,816.68    17,883,228.22   644,962.75   397,142,484.49
 7/2/2018   173,015,640.44   205,644,971.56    17,885,416.00   645,041.66   397,191,069.66
 7/3/2018   173,036,804.04   205,670,126.44    17,887,603.78   645,120.56   397,239,654.82
 7/4/2018   173,057,967.64   205,695,281.33    17,889,791.55   645,199.46   397,288,239.98
 7/5/2018   173,079,131.24   205,720,436.21    17,891,979.33   645,278.37   397,336,825.15
 7/6/2018   173,100,294.84   205,745,591.09    17,894,167.11   645,357.27   397,385,410.31
 7/7/2018   173,121,458.44   205,770,745.97    17,896,354.89   645,436.17   397,433,995.47
 7/8/2018   173,142,622.04   205,795,900.85    17,898,542.67   645,515.07   397,482,580.63
 7/9/2018   173,163,785.64   205,821,055.73    17,900,730.44   645,593.98   397,531,165.79
7/10/2018   173,184,949.24   205,846,210.62    17,902,918.22   645,672.88   397,579,750.96
7/11/2018   173,206,112.84   205,871,365.50    17,905,106.00   645,751.78   397,628,336.12
7/12/2018   173,227,276.44   205,896,520.38    17,907,293.78   645,830.68   397,676,921.28
7/13/2018   173,248,440.04   205,921,675.26    17,909,481.56   645,909.59   397,725,506.45
7/14/2018   173,269,603.64   205,946,830.14    17,911,669.33   645,988.49   397,774,091.60
7/15/2018   173,290,767.24   205,971,985.02    17,913,857.11   646,067.39   397,822,676.76
7/16/2018   173,311,930.84   205,997,139.91    17,916,044.89   646,146.30   397,871,261.94
7/17/2018   173,333,094.44   206,022,294.79    17,918,232.67   646,225.20   397,919,847.10
7/18/2018   173,354,258.04   206,047,449.67    17,920,420.45   646,304.10   397,968,432.26
7/19/2018   173,375,421.65   206,072,604.55    17,922,608.22   646,383.00   398,017,017.42
7/20/2018   173,396,585.25   206,097,759.43    17,924,796.00   646,461.91   398,065,602.59
7/21/2018   173,417,748.85   206,122,914.31    17,926,983.78   646,540.81   398,114,187.75
7/22/2018   173,438,912.45   206,148,069.20    17,929,171.56   646,619.71   398,162,772.92
7/23/2018   173,460,076.05   206,173,224.08    17,931,359.33   646,698.61   398,211,358.07
7/24/2018   173,481,239.65   206,198,378.96    17,933,547.11   646,777.52   398,259,943.24
7/25/2018   173,502,403.25   206,223,533.84    17,935,734.89   646,856.42   398,308,528.40
7/26/2018   173,523,566.85   206,248,688.72    17,937,922.67   646,935.32   398,357,113.56
7/27/2018   173,544,730.45   206,273,843.60    17,940,110.45   647,014.23   398,405,698.73
7/28/2018   173,565,894.05   206,298,998.49    17,942,298.22   647,093.13   398,454,283.89
7/29/2018   173,587,057.65   206,324,153.37    17,944,486.00   647,172.03   398,502,869.05
7/30/2018   173,608,221.25   206,349,308.25    17,946,673.78   647,250.93   398,551,454.21
7/31/2018   173,629,384.85   206,374,463.13    17,948,861.56   647,329.84   398,600,039.38



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                                                KOMSA and KNI jointly
                                                           Arbitration
              KOMSA                            Legal costs
  Date                       KNI seperately                    costs        Total award
             seperately                         awarded
                                                            awarded

 8/1/2018   173,650,548.45   206,399,618.01    17,951,049.34   647,408.74   398,648,624.54
 8/2/2018   173,671,712.05   206,424,772.89    17,953,237.11   647,487.64   398,697,209.69
 8/3/2018   173,692,875.65   206,449,927.78    17,955,424.89   647,566.54   398,745,794.86
 8/4/2018   173,714,039.25   206,475,082.66    17,957,612.67   647,645.45   398,794,380.03
 8/5/2018   173,735,202.85   206,500,237.54    17,959,800.45   647,724.35   398,842,965.19
 8/6/2018   173,756,366.45   206,525,392.42    17,961,988.23   647,803.25   398,891,550.35
 8/7/2018   173,777,530.05   206,550,547.30    17,964,176.00   647,882.16   398,940,135.51
 8/8/2018   173,798,693.65   206,575,702.18    17,966,363.78   647,961.06   398,988,720.67
 8/9/2018   173,819,857.25   206,600,857.07    17,968,551.56   648,039.96   399,037,305.84
8/10/2018   173,841,020.85   206,626,011.95    17,970,739.34   648,118.86   399,085,891.00
8/11/2018   173,862,184.45   206,651,166.83    17,972,927.11   648,197.77   399,134,476.16
8/12/2018   173,883,348.05   206,676,321.71    17,975,114.89   648,276.67   399,183,061.32
8/13/2018   173,904,511.65   206,701,476.59    17,977,302.67   648,355.57   399,231,646.48
8/14/2018   173,925,675.25   206,726,631.48    17,979,490.45   648,434.47   399,280,231.65
8/15/2018   173,946,838.85   206,751,786.36    17,981,678.23   648,513.38   399,328,816.82
8/16/2018   173,968,002.45   206,776,941.24    17,983,866.00   648,592.28   399,377,401.97
8/17/2018   173,989,166.05   206,802,096.12    17,986,053.78   648,671.18   399,425,987.13
8/18/2018   174,010,329.65   206,827,251.00    17,988,241.56   648,750.09   399,474,572.30
8/19/2018   174,031,493.25   206,852,405.88    17,990,429.34   648,828.99   399,523,157.46
8/20/2018   174,052,656.85   206,877,560.77    17,992,617.12   648,907.89   399,571,742.63
8/21/2018   174,073,820.45   206,902,715.65    17,994,804.89   648,986.79   399,620,327.78
8/22/2018   174,094,984.05   206,927,870.53    17,996,992.67   649,065.70   399,668,912.95
8/23/2018   174,116,147.65   206,953,025.41    17,999,180.45   649,144.60   399,717,498.11
8/24/2018   174,137,311.25   206,978,180.29    18,001,368.23   649,223.50   399,766,083.27
8/25/2018   174,158,474.85   207,003,335.17    18,003,556.01   649,302.40   399,814,668.43
8/26/2018   174,179,638.45   207,028,490.06    18,005,743.78   649,381.31   399,863,253.60
8/27/2018   174,200,802.05   207,053,644.94    18,007,931.56   649,460.21   399,911,838.76
8/28/2018   174,221,965.65   207,078,799.82    18,010,119.34   649,539.11   399,960,423.92
8/29/2018   174,243,129.25   207,103,954.70    18,012,307.12   649,618.02   400,009,009.09
8/30/2018   174,264,292.86   207,129,109.58    18,014,494.89   649,696.92   400,057,594.25
8/31/2018   174,285,456.46   207,154,264.46    18,016,682.67   649,775.82   400,106,179.41
 9/1/2018   174,306,620.06   207,179,419.35    18,018,870.45   649,854.72   400,154,764.58
 9/2/2018   174,327,783.66   207,204,574.23    18,021,058.23   649,933.63   400,203,349.75
 9/3/2018   174,348,947.26   207,229,729.11    18,023,246.01   650,012.53   400,251,934.91
 9/4/2018   174,370,110.86   207,254,883.99    18,025,433.78   650,091.43   400,300,520.06
 9/5/2018   174,391,274.46   207,280,038.87    18,027,621.56   650,170.33   400,349,105.22
 9/6/2018   174,412,438.06   207,305,193.75    18,029,809.34   650,249.24   400,397,690.39
 9/7/2018   174,433,601.66   207,330,348.64    18,031,997.12   650,328.14   400,446,275.56
 9/8/2018   174,454,765.26   207,355,503.52    18,034,184.90   650,407.04   400,494,860.72
 9/9/2018   174,475,928.86   207,380,658.40    18,036,372.67   650,485.94   400,543,445.87
9/10/2018   174,497,092.46   207,405,813.28    18,038,560.45   650,564.85   400,592,031.04
9/11/2018   174,518,256.06   207,430,968.16    18,040,748.23   650,643.75   400,640,616.20
9/12/2018   174,539,419.66   207,456,123.04    18,042,936.01   650,722.65   400,689,201.36
9/13/2018   174,560,583.26   207,481,277.93    18,045,123.79   650,801.56   400,737,786.54
9/14/2018   174,581,746.86   207,506,432.81    18,047,311.56   650,880.46   400,786,371.69
9/15/2018   174,602,910.46   207,531,587.69    18,049,499.34   650,959.36   400,834,956.85
9/16/2018   174,624,074.06   207,556,742.57    18,051,687.12   651,038.26   400,883,542.01
9/17/2018   174,645,237.66   207,581,897.45    18,053,874.90   651,117.17   400,932,127.18
9/18/2018   174,666,401.26   207,607,052.34    18,056,062.67   651,196.07   400,980,712.34
9/19/2018   174,687,564.86   207,632,207.22    18,058,250.45   651,274.97   401,029,297.50
9/20/2018   174,708,728.46   207,657,362.10    18,060,438.23   651,353.87   401,077,882.66
9/21/2018   174,729,892.06   207,682,516.98    18,062,626.01   651,432.78   401,126,467.83
9/22/2018   174,751,055.66   207,707,671.86    18,064,813.79   651,511.68   401,175,052.99
9/23/2018   174,772,219.26   207,732,826.74    18,067,001.56   651,590.58   401,223,638.14
9/24/2018   174,793,382.86   207,757,981.63    18,069,189.34   651,669.49   401,272,223.32
9/25/2018   174,814,546.46   207,783,136.51    18,071,377.12   651,748.39   401,320,808.48



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                                                 KOMSA and KNI jointly
                                                            Arbitration
               KOMSA                            Legal costs
  Date                        KNI seperately                    costs        Total award
              seperately                         awarded
                                                             awarded

9/26/2018    174,835,710.06   207,808,291.39    18,073,564.90   651,827.29   401,369,393.64
9/27/2018    174,856,873.66   207,833,446.27    18,075,752.68   651,906.19   401,417,978.80
9/28/2018    174,878,037.26   207,858,601.15    18,077,940.45   651,985.10   401,466,563.96
9/29/2018    174,899,200.86   207,883,756.03    18,080,128.23   652,064.00   401,515,149.12
9/30/2018    174,920,364.46   207,908,910.92    18,082,316.01   652,142.90   401,563,734.29
10/1/2018    174,941,528.06   207,934,065.80    18,084,503.79   652,221.80   401,612,319.45
10/2/2018    174,962,691.66   207,959,220.68    18,086,691.57   652,300.71   401,660,904.62
10/3/2018    174,983,855.26   207,984,375.56    18,088,879.34   652,379.61   401,709,489.77
10/4/2018    175,005,018.86   208,009,530.44    18,091,067.12   652,458.51   401,758,074.93
10/5/2018    175,026,182.46   208,034,685.32    18,093,254.90   652,537.42   401,806,660.10
10/6/2018    175,047,346.06   208,059,840.21    18,095,442.68   652,616.32   401,855,245.27
10/7/2018    175,068,509.66   208,084,995.09    18,097,630.45   652,695.22   401,903,830.42
10/8/2018    175,089,673.26   208,110,149.97    18,099,818.23   652,774.12   401,952,415.58
10/9/2018    175,110,836.86   208,135,304.85    18,102,006.01   652,853.03   402,001,000.75
10/10/2018   175,132,000.46   208,160,459.73    18,104,193.79   652,931.93   402,049,585.91
10/11/2018   175,153,164.07   208,185,614.61    18,106,381.57   653,010.83   402,098,171.08
10/12/2018   175,174,327.67   208,210,769.50    18,108,569.34   653,089.73   402,146,756.24
10/13/2018   175,195,491.27   208,235,924.38    18,110,757.12   653,168.64   402,195,341.41
10/14/2018   175,216,654.87   208,261,079.26    18,112,944.90   653,247.54   402,243,926.57
10/15/2018   175,237,818.47   208,286,234.14    18,115,132.68   653,326.44   402,292,511.73
10/16/2018   175,258,982.07   208,311,389.02    18,117,320.46   653,405.35   402,341,096.90
10/17/2018   175,280,145.67   208,336,543.90    18,119,508.23   653,484.25   402,389,682.05
10/18/2018   175,301,309.27   208,361,698.79    18,121,696.01   653,563.15   402,438,267.22
10/19/2018   175,322,472.87   208,386,853.67    18,123,883.79   653,642.05   402,486,852.38
10/20/2018   175,343,636.47   208,412,008.55    18,126,071.57   653,720.96   402,535,437.55
10/21/2018   175,364,800.07   208,437,163.43    18,128,259.35   653,799.86   402,584,022.71
10/22/2018   175,385,963.67   208,462,318.31    18,130,447.12   653,878.76   402,632,607.86
10/23/2018   175,407,127.27   208,487,473.19    18,132,634.90   653,957.66   402,681,193.02
10/24/2018   175,428,290.87   208,512,628.08    18,134,822.68   654,036.57   402,729,778.20
10/25/2018   175,449,454.47   208,537,782.96    18,137,010.46   654,115.47   402,778,363.36
10/26/2018   175,470,618.07   208,562,937.84    18,139,198.24   654,194.37   402,826,948.52
10/27/2018   175,491,781.67   208,588,092.72    18,141,386.01   654,273.28   402,875,533.68
10/28/2018   175,512,945.27   208,613,247.60    18,143,573.79   654,352.18   402,924,118.84
10/29/2018   175,534,108.87   208,638,402.49    18,145,761.57   654,431.08   402,972,704.01
10/30/2018   175,555,272.47   208,663,557.37    18,147,949.35   654,509.98   403,021,289.17
10/31/2018   175,578,404.53   208,691,051.94    18,150,340.61   654,596.22   403,074,393.30
11/1/2018    175,601,536.59   208,718,546.52    18,152,731.88   654,682.47   403,127,497.46
11/2/2018    175,624,668.65   208,746,041.10    18,155,123.15   654,768.71   403,180,601.61
11/3/2018    175,647,800.71   208,773,535.67    18,157,514.41   654,854.95   403,233,705.74
11/4/2018    175,670,932.77   208,801,030.25    18,159,905.68   654,941.19   403,286,809.89
11/5/2018    175,694,064.83   208,828,524.83    18,162,296.95   655,027.43   403,339,914.04
11/6/2018    175,717,196.89   208,856,019.40    18,164,688.21   655,113.67   403,393,018.17
11/7/2018    175,740,328.95   208,883,513.98    18,167,079.48   655,199.92   403,446,122.33
11/8/2018    175,763,461.01   208,911,008.56    18,169,470.75   655,286.16   403,499,226.48
11/9/2018    175,786,593.07   208,938,503.13    18,171,862.01   655,372.40   403,552,330.61
11/10/2018   175,809,725.13   208,965,997.71    18,174,253.28   655,458.64   403,605,434.76
11/11/2018   175,832,857.19   208,993,492.29    18,176,644.55   655,544.88   403,658,538.91
11/12/2018   175,855,989.25   209,020,986.86    18,179,035.81   655,631.12   403,711,643.04
11/13/2018   175,879,121.31   209,048,481.44    18,181,427.08   655,717.37   403,764,747.20
11/14/2018   175,902,253.37   209,075,976.02    18,183,818.34   655,803.61   403,817,851.34
11/15/2018   175,925,385.43   209,103,470.59    18,186,209.61   655,889.85   403,870,955.48
11/16/2018   175,948,517.49   209,130,965.17    18,188,600.88   655,976.09   403,924,059.63
11/17/2018   175,971,649.55   209,158,459.75    18,190,992.14   656,062.33   403,977,163.77
11/18/2018   175,994,781.61   209,185,954.32    18,193,383.41   656,148.57   404,030,267.91
11/19/2018   176,017,913.67   209,213,448.90    18,195,774.68   656,234.82   404,083,372.07
11/20/2018   176,041,045.72   209,240,943.47    18,198,165.94   656,321.06   404,136,476.19



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                                                 KOMSA and KNI jointly
                                                            Arbitration
               KOMSA                            Legal costs
  Date                        KNI seperately                    costs        Total award
              seperately                         awarded
                                                             awarded

11/21/2018   176,064,177.78   209,268,438.05    18,200,557.21   656,407.30   404,189,580.34
11/22/2018   176,087,309.84   209,295,932.63    18,202,948.48   656,493.54   404,242,684.49
11/23/2018   176,110,441.90   209,323,427.20    18,205,339.74   656,579.78   404,295,788.62
11/24/2018   176,133,573.96   209,350,921.78    18,207,731.01   656,666.02   404,348,892.77
11/25/2018   176,156,706.02   209,378,416.36    18,210,122.28   656,752.26   404,401,996.92
11/26/2018   176,179,838.08   209,405,910.93    18,212,513.54   656,838.51   404,455,101.06
11/27/2018   176,202,970.14   209,433,405.51    18,214,904.81   656,924.75   404,508,205.21
11/28/2018   176,226,102.20   209,460,900.09    18,217,296.08   657,010.99   404,561,309.36
11/29/2018   176,249,234.26   209,488,394.66    18,219,687.34   657,097.23   404,614,413.49
11/30/2018   176,272,366.32   209,515,889.24    18,222,078.61   657,183.47   404,667,517.64
12/1/2018    176,295,498.38   209,543,383.82    18,224,469.88   657,269.71   404,720,621.79
12/2/2018    176,318,630.44   209,570,878.39    18,226,861.14   657,355.96   404,773,725.93
12/3/2018    176,341,762.50   209,598,372.97    18,229,252.41   657,442.20   404,826,830.08
12/4/2018    176,364,894.56   209,625,867.55    18,231,643.68   657,528.44   404,879,934.23
12/5/2018    176,388,026.62   209,653,362.12    18,234,034.94   657,614.68   404,933,038.36
12/6/2018    176,411,158.68   209,680,856.70    18,236,426.21   657,700.92   404,986,142.51
12/7/2018    176,434,290.74   209,708,351.28    18,238,817.48   657,787.16   405,039,246.66
12/8/2018    176,457,422.80   209,735,845.85    18,241,208.74   657,873.41   405,092,350.80
12/9/2018    176,480,554.86   209,763,340.43    18,243,600.01   657,959.65   405,145,454.95
12/10/2018   176,503,686.92   209,790,835.01    18,245,991.27   658,045.89   405,198,559.09
12/11/2018   176,526,818.98   209,818,329.58    18,248,382.54   658,132.13   405,251,663.23
12/12/2018   176,549,951.04   209,845,824.16    18,250,773.81   658,218.37   405,304,767.38
12/13/2018   176,573,083.10   209,873,318.74    18,253,165.07   658,304.61   405,357,871.52
12/14/2018   176,596,215.16   209,900,813.31    18,255,556.34   658,390.85   405,410,975.66
12/15/2018   176,619,347.22   209,928,307.89    18,257,947.61   658,477.10   405,464,079.82
12/16/2018   176,642,479.28   209,955,802.47    18,260,338.87   658,563.34   405,517,183.96
12/17/2018   176,665,611.34   209,983,297.04    18,262,730.14   658,649.58   405,570,288.10
12/18/2018   176,688,743.40   210,010,791.62    18,265,121.41   658,735.82   405,623,392.25
12/19/2018   176,711,875.46   210,038,286.20    18,267,512.67   658,822.06   405,676,496.39
12/20/2018   176,735,007.52   210,065,780.77    18,269,903.94   658,908.30   405,729,600.53
12/21/2018   176,758,139.58   210,093,275.35    18,272,295.21   658,994.55   405,782,704.69
12/22/2018   176,781,271.64   210,120,769.92    18,274,686.47   659,080.79   405,835,808.82
12/23/2018   176,804,403.70   210,148,264.50    18,277,077.74   659,167.03   405,888,912.97
12/24/2018   176,827,535.76   210,175,759.08    18,279,469.01   659,253.27   405,942,017.12
12/25/2018   176,850,667.82   210,203,253.65    18,281,860.27   659,339.51   405,995,121.25
12/26/2018   176,873,799.88   210,230,748.23    18,284,251.54   659,425.75   406,048,225.40
12/27/2018   176,896,931.94   210,258,242.81    18,286,642.81   659,512.00   406,101,329.56
12/28/2018   176,920,064.00   210,285,737.38    18,289,034.07   659,598.24   406,154,433.69
12/29/2018   176,943,196.06   210,313,231.96    18,291,425.34   659,684.48   406,207,537.84
12/30/2018   176,966,328.12   210,340,726.54    18,293,816.61   659,770.72   406,260,641.99
12/31/2018   176,989,460.18   210,368,221.11    18,296,207.87   659,856.96   406,313,746.12
 1/1/2019    177,012,592.24   210,395,715.69    18,298,599.14   659,943.20   406,366,850.27
 1/2/2019    177,035,724.29   210,423,210.27    18,300,990.41   660,029.44   406,419,954.41
 1/3/2019    177,058,856.35   210,450,704.84    18,303,381.67   660,115.69   406,473,058.55
 1/4/2019    177,081,988.41   210,478,199.42    18,305,772.94   660,201.93   406,526,162.70
 1/5/2019    177,105,120.47   210,505,694.00    18,308,164.20   660,288.17   406,579,266.84
 1/6/2019    177,128,252.53   210,533,188.57    18,310,555.47   660,374.41   406,632,370.98
 1/7/2019    177,151,384.59   210,560,683.15    18,312,946.74   660,460.65   406,685,475.13
 1/8/2019    177,174,516.65   210,588,177.73    18,315,338.00   660,546.89   406,738,579.27
 1/9/2019    177,197,648.71   210,615,672.30    18,317,729.27   660,633.14   406,791,683.42
1/10/2019    177,220,780.77   210,643,166.88    18,320,120.54   660,719.38   406,844,787.57
1/11/2019    177,243,912.83   210,670,661.46    18,322,511.80   660,805.62   406,897,891.71
1/12/2019    177,267,044.89   210,698,156.03    18,324,903.07   660,891.86   406,950,995.85
1/13/2019    177,290,176.95   210,725,650.61    18,327,294.34   660,978.10   407,004,100.00
1/14/2019    177,313,309.01   210,753,145.19    18,329,685.60   661,064.34   407,057,204.14
1/15/2019    177,336,441.07   210,780,639.76    18,332,076.87   661,150.59   407,110,308.29



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                                                KOMSA and KNI jointly
                                                           Arbitration
              KOMSA                            Legal costs
  Date                       KNI seperately                    costs        Total award
             seperately                         awarded
                                                            awarded

1/16/2019   177,359,573.13   210,808,134.34    18,334,468.14   661,236.83   407,163,412.44
1/17/2019   177,382,705.19   210,835,628.92    18,336,859.40   661,323.07   407,216,516.58
1/18/2019   177,405,837.25   210,863,123.49    18,339,250.67   661,409.31   407,269,620.72
1/19/2019   177,428,969.31   210,890,618.07    18,341,641.94   661,495.55   407,322,724.87
1/20/2019   177,452,101.37   210,918,112.65    18,344,033.20   661,581.79   407,375,829.01
1/21/2019   177,475,233.43   210,945,607.22    18,346,424.47   661,668.03   407,428,933.15
1/22/2019   177,498,365.49   210,973,101.80    18,348,815.74   661,754.28   407,482,037.31
1/23/2019   177,521,497.55   211,000,596.37    18,351,207.00   661,840.52   407,535,141.44
1/24/2019   177,544,629.61   211,028,090.95    18,353,598.27   661,926.76   407,588,245.59
1/25/2019   177,567,761.67   211,055,585.53    18,355,989.54   662,013.00   407,641,349.74
1/26/2019   177,590,893.73   211,083,080.10    18,358,380.80   662,099.24   407,694,453.87
1/27/2019   177,614,025.79   211,110,574.68    18,360,772.07   662,185.48   407,747,558.02
1/28/2019   177,637,157.85   211,138,069.26    18,363,163.34   662,271.73   407,800,662.18
1/29/2019   177,660,289.91   211,165,563.83    18,365,554.60   662,357.97   407,853,766.31
1/30/2019   177,683,421.97   211,193,058.41    18,367,945.87   662,444.21   407,906,870.46
1/31/2019   177,706,554.03   211,220,552.99    18,370,337.13   662,530.45   407,959,974.60
 2/1/2019   177,729,686.09   211,248,047.56    18,372,728.40   662,616.69   408,013,078.74
 2/2/2019   177,752,818.15   211,275,542.14    18,375,119.67   662,702.93   408,066,182.89
 2/3/2019   177,775,950.21   211,303,036.72    18,377,510.93   662,789.18   408,119,287.04
 2/4/2019   177,799,082.27   211,330,531.29    18,379,902.20   662,875.42   408,172,391.18
 2/5/2019   177,822,214.33   211,358,025.87    18,382,293.47   662,961.66   408,225,495.33
 2/6/2019   177,845,346.39   211,385,520.45    18,384,684.73   663,047.90   408,278,599.47
 2/7/2019   177,868,478.45   211,413,015.02    18,387,076.00   663,134.14   408,331,703.61
 2/8/2019   177,891,610.51   211,440,509.60    18,389,467.27   663,220.38   408,384,807.76
 2/9/2019   177,914,742.57   211,468,004.18    18,391,858.53   663,306.62   408,437,911.90
2/10/2019   177,937,874.63   211,495,498.75    18,394,249.80   663,392.87   408,491,016.05
2/11/2019   177,961,006.69   211,522,993.33    18,396,641.07   663,479.11   408,544,120.20
2/12/2019   177,984,138.75   211,550,487.91    18,399,032.33   663,565.35   408,597,224.34
2/13/2019   178,007,270.81   211,577,982.48    18,401,423.60   663,651.59   408,650,328.48
2/14/2019   178,030,402.86   211,605,477.06    18,403,814.87   663,737.83   408,703,432.62
2/15/2019   178,053,534.92   211,632,971.64    18,406,206.13   663,824.07   408,756,536.76
2/16/2019   178,076,666.98   211,660,466.21    18,408,597.40   663,910.32   408,809,640.91
2/17/2019   178,099,799.04   211,687,960.79    18,410,988.67   663,996.56   408,862,745.06
2/18/2019   178,122,931.10   211,715,455.37    18,413,379.93   664,082.80   408,915,849.20
2/19/2019   178,146,063.16   211,742,949.94    18,415,771.20   664,169.04   408,968,953.34
2/20/2019   178,169,195.22   211,770,444.52    18,418,162.47   664,255.28   409,022,057.49
2/21/2019   178,192,327.28   211,797,939.10    18,420,553.73   664,341.52   409,075,161.63
2/22/2019   178,215,459.34   211,825,433.67    18,422,945.00   664,427.77   409,128,265.78
2/23/2019   178,238,591.40   211,852,928.25    18,425,336.27   664,514.01   409,181,369.93
2/24/2019   178,261,723.46   211,880,422.83    18,427,727.53   664,600.25   409,234,474.07
2/25/2019   178,284,855.52   211,907,917.40    18,430,118.80   664,686.49   409,287,578.21
2/26/2019   178,307,987.58   211,935,411.98    18,432,510.06   664,772.73   409,340,682.35
2/27/2019   178,331,119.64   211,962,906.55    18,434,901.33   664,858.97   409,393,786.49
2/28/2019   178,354,251.70   211,990,401.13    18,437,292.60   664,945.21   409,446,890.64
 3/1/2019   178,377,383.76   212,017,895.71    18,439,683.86   665,031.46   409,499,994.79
 3/2/2019   178,400,515.82   212,045,390.28    18,442,075.13   665,117.70   409,553,098.93
 3/3/2019   178,423,647.88   212,072,884.86    18,444,466.40   665,203.94   409,606,203.08
 3/4/2019   178,446,779.94   212,100,379.44    18,446,857.66   665,290.18   409,659,307.22
 3/5/2019   178,469,912.00   212,127,874.01    18,449,248.93   665,376.42   409,712,411.36
 3/6/2019   178,493,044.06   212,155,368.59    18,451,640.20   665,462.66   409,765,515.51
 3/7/2019   178,516,176.12   212,182,863.17    18,454,031.46   665,548.91   409,818,619.66
 3/8/2019   178,539,308.18   212,210,357.74    18,456,422.73   665,635.15   409,871,723.80
 3/9/2019   178,562,440.24   212,237,852.32    18,458,814.00   665,721.39   409,924,827.95
3/10/2019   178,585,572.30   212,265,346.90    18,461,205.26   665,807.63   409,977,932.09
3/11/2019   178,608,704.36   212,292,841.47    18,463,596.53   665,893.87   410,031,036.23
3/12/2019   178,631,836.42   212,320,336.05    18,465,987.80   665,980.11   410,084,140.38



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                                                 KOMSA and KNI jointly
                                                            Arbitration
              KOMSA                             Legal costs
  Date                       KNI seperately                     costs       Total award
             seperately                          awarded
                                                             awarded

3/13/2019   178,654,968.48   212,347,830.63    18,468,379.06   666,066.36   410,137,244.53
3/14/2019   178,678,100.54   212,375,325.20    18,470,770.33   666,152.60   410,190,348.67
3/15/2019   178,701,232.60   212,402,819.78    18,473,161.60   666,238.84   410,243,452.82
3/16/2019   178,724,364.66   212,430,314.36    18,475,552.86   666,325.08   410,296,556.96
3/17/2019   178,747,496.72   212,457,808.93    18,477,944.13   666,411.32   410,349,661.10
3/18/2019   178,770,628.78   212,485,303.51    18,480,335.40   666,497.56   410,402,765.25
3/19/2019   178,793,760.84   212,512,798.09    18,482,726.66   666,583.80   410,455,869.39
3/20/2019   178,816,892.90   212,540,292.66    18,485,117.93   666,670.05   410,508,973.54
3/21/2019   178,840,024.96   212,567,787.24    18,487,509.20   666,756.29   410,562,077.69
3/22/2019   178,863,157.02   212,595,281.82    18,489,900.46   666,842.53   410,615,181.83
3/23/2019   178,886,289.08   212,622,776.39    18,492,291.73   666,928.77   410,668,285.97
3/24/2019   178,909,421.14   212,650,270.97    18,494,682.99   667,015.01   410,721,390.11
3/25/2019   178,932,553.20   212,677,765.55    18,497,074.26   667,101.25   410,774,494.26
3/26/2019   178,955,685.26   212,705,260.12    18,499,465.53   667,187.50   410,827,598.41
3/27/2019   178,978,817.32   212,732,754.70    18,501,856.79   667,273.74   410,880,702.55
3/28/2019   179,001,949.38   212,760,249.28    18,504,248.06   667,359.98   410,933,806.70
3/29/2019   179,025,081.44   212,787,743.85    18,506,639.33   667,446.22   410,986,910.84
3/30/2019   179,048,213.49   212,815,238.43    18,509,030.59   667,532.46   411,040,014.97
3/31/2019   179,071,345.55   212,842,733.00    18,511,421.86   667,618.70   411,093,119.11
 4/1/2019   179,094,477.61   212,870,227.58    18,513,813.13   667,704.95   411,146,223.27
 4/2/2019   179,117,609.67   212,897,722.16    18,516,204.39   667,791.19   411,199,327.41
 4/3/2019   179,140,741.73   212,925,216.73    18,518,595.66   667,877.43   411,252,431.55
 4/4/2019   179,163,873.79   212,952,711.31    18,520,986.93   667,963.67   411,305,535.70
 4/5/2019   179,187,005.85   212,980,205.89    18,523,378.19   668,049.91   411,358,639.84
 4/6/2019   179,210,137.91   213,007,700.46    18,525,769.46   668,136.15   411,411,743.98
 4/7/2019   179,233,269.97   213,035,195.04    18,528,160.73   668,222.39   411,464,848.13
 4/8/2019   179,256,402.03   213,062,689.62    18,530,551.99   668,308.64   411,517,952.28
 4/9/2019   179,279,534.09   213,090,184.19    18,532,943.26   668,394.88   411,571,056.42
4/10/2019   179,302,666.15   213,117,678.77    18,535,334.53   668,481.12   411,624,160.57
4/11/2019   179,325,798.21   213,145,173.35    18,537,725.79   668,567.36   411,677,264.71
4/12/2019   179,348,930.27   213,172,667.92    18,540,117.06   668,653.60   411,730,368.85
4/13/2019   179,372,062.33   213,200,162.50    18,542,508.33   668,739.84   411,783,473.00
4/14/2019   179,395,194.39   213,227,657.08    18,544,899.59   668,826.09   411,836,577.15
4/15/2019   179,418,326.45   213,255,151.65    18,547,290.86   668,912.33   411,889,681.29
4/16/2019   179,441,458.51   213,282,646.23    18,549,682.13   668,998.57   411,942,785.44
4/17/2019   179,464,590.57   213,310,140.81    18,552,073.39   669,084.81   411,995,889.58
4/18/2019   179,487,722.63   213,337,635.38    18,554,464.66   669,171.05   412,048,993.72
4/19/2019   179,510,854.69   213,365,129.96    18,556,855.92   669,257.29   412,102,097.86
4/20/2019   179,533,986.75   213,392,624.54    18,559,247.19   669,343.54   412,155,202.02
4/21/2019   179,557,118.81   213,420,119.11    18,561,638.46   669,429.78   412,208,306.16
4/22/2019   179,580,250.87   213,447,613.69    18,564,029.72   669,516.02   412,261,410.30
4/23/2019   179,603,382.93   213,475,108.27    18,566,420.99   669,602.26   412,314,514.45
4/24/2019   179,626,514.99   213,502,602.84    18,568,812.26   669,688.50   412,367,618.59
4/25/2019   179,649,647.05   213,530,097.42    18,571,203.52   669,774.74   412,420,722.73
4/26/2019   179,672,779.11   213,557,592.00    18,573,594.79   669,860.98   412,473,826.88
4/27/2019   179,695,911.17   213,585,086.57    18,575,986.06   669,947.23   412,526,931.03
4/28/2019   179,719,043.23   213,612,581.15    18,578,377.32   670,033.47   412,580,035.17
4/29/2019   179,742,175.29   213,640,075.73    18,580,768.59   670,119.71   412,633,139.32
4/30/2019   179,765,307.35   213,667,570.30    18,583,159.86   670,205.95   412,686,243.46
 5/1/2019   179,788,008.86   213,694,553.13    18,585,506.62   670,290.59   412,738,359.20
 5/2/2019   179,810,710.37   213,721,535.96    18,587,853.37   670,375.22   412,790,474.92
 5/3/2019   179,833,411.88   213,748,518.79    18,590,200.13   670,459.86   412,842,590.66
 5/4/2019   179,856,113.39   213,775,501.61    18,592,546.89   670,544.50   412,894,706.39
 5/5/2019   179,878,814.90   213,802,484.44    18,594,893.65   670,629.13   412,946,822.12
 5/6/2019   179,901,516.41   213,829,467.27    18,597,240.41   670,713.77   412,998,937.86
 5/7/2019   179,924,217.91   213,856,450.10    18,599,587.17   670,798.41   413,051,053.59



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                                                 KOMSA and KNI jointly
                                                            Arbitration
              KOMSA                             Legal costs
  Date                       KNI seperately                     costs       Total award
             seperately                          awarded
                                                             awarded

 5/8/2019   179,946,919.42   213,883,432.93    18,601,933.93   670,883.04   413,103,169.32
 5/9/2019   179,969,620.93   213,910,415.76    18,604,280.68   670,967.68   413,155,285.05
5/10/2019   179,992,322.44   213,937,398.58    18,606,627.44   671,052.31   413,207,400.77
5/11/2019   180,015,023.95   213,964,381.41    18,608,974.20   671,136.95   413,259,516.51
5/12/2019   180,037,725.46   213,991,364.24    18,611,320.96   671,221.59   413,311,632.25
5/13/2019   180,060,426.97   214,018,347.07    18,613,667.72   671,306.22   413,363,747.98
5/14/2019   180,083,128.48   214,045,329.90    18,616,014.48   671,390.86   413,415,863.72
5/15/2019   180,105,829.99   214,072,312.72    18,618,361.24   671,475.50   413,467,979.45
5/16/2019   180,128,531.50   214,099,295.55    18,620,707.99   671,560.13   413,520,095.17




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